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Case 2:04-cv-09049-DOC-RNB Document 4374-3 Filed 10/20/08 Page 4 of 145 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-3 Filed 10/20/08 Page 5 of 145 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-3 Filed 10/20/08 Page 6 of 145 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-3 Filed 10/20/08 Page 7 of 145 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-3 Filed 10/20/08 Page 8 of 145 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-3 Filed 10/20/08 Page 9 of 145 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-3 Filed 10/20/08 Page 12 of 145 Page ID
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